
201 Md. 656 (1952)
92 A.2d 757
TAYLOR
v.
WARDEN OF MARYLAND HOUSE OF CORRECTION
[H.C. No. 21, October Term, 1952.]
Court of Appeals of Maryland.
Decided December 5, 1952.
Before MARKELL, C.J., and DELAPLAINE, COLLINS and HENDERSON, JJ.
DELAPLAINE, J., delivered the opinion of the Court.
This application was made by William Taylor for leave to appeal from refusal of a writ of habeas corpus.
Petitioner alleges that he was convicted in the Criminal Court of Baltimore on the charge of unauthorized use of a motor vehicle and was sentenced to the Maryland *657 House of Correction, but that he is being confined in that institution illegally. He complains (1) that he was held in jail for 52 days before he was tried and thus was denied the right to a speedy trial; and (2) that the bail fixed by the Court was excessive.
First, a prisoner cannot be released on habeas corpus after conviction merely because his trial was improperly delayed. Ruben v. Welch, 159 F.2d 493.
Secondly, the fact that bail fixed by the Court was excessive does not vitiate the prisoner's conviction and therefore cannot be raised on habeas corpus.
Application denied, with costs.
